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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

TAKESHEIA DORSEY,                                    *

       Plaintiff,                                    *

v.                                                   *       Case No.

UNIQUE MANAGEMENT SERVICES, INC.                     *

       Defendant.                                    *

                              ********************
                                NOTICE OF REMOVAL

       Defendant Unique Management Services, Inc., t/a Unique National Collections, by

undersigned counsel, respectfully submits this Notice of Removal, stating as follows:

       1.      On November 20, 2007, Plaintiff Takesheia Dorsey filed this action in the District

Court of Maryland for Baltimore County. The action was docketed as Case No. 40147-2007.

       2.      On or after December 5, 2007, Defendant was served with Plaintiff’s Complaint

and an accompanying Writ of Summons. Copies are submitted to this Court with this Notice.

       3.      There is only one true defendant to this action: Unique Management Services,

Inc. (“Unique”). While Unique has done business under the trade name “Unique National

Collections,” there is no corporate entity named “Unique National Collections.”

       4.      This Notice is being filed within 30 days of service of process.

       5.      In this action, Plaintiff alleges that Unique disseminated false credit information

about her. Compl. ¶ 1. As a result, Plaintiff’s claim is completely preempted by the Fair Credit

Reporting Act, 15 U.S.C. § 1681 et seq.

       6.      Pursuant to 28 U.S.C. § 1441, this case is removable to the United States District

Court for the District of Maryland on the grounds of federal question jurisdiction.
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       7.      A copy of all process, pleadings, and orders served upon Defendant or obtained

from the case filed at the District Court of Maryland for Baltimore County are submitted with

this Notice as required by 28 U.S.C. § 1446(a).

       8.      Promptly after filing this Notice, undersigned counsel shall file a copy of this

Notice with the Clerk of the District Court of Maryland for Baltimore County.

       WHEREFORE, Defendant Unique Management Services, Inc., d/b/a Unique National

Collections respectfully requests that this Court assume jurisdiction in this case as it has been

properly removed from the District Court of Maryland for Baltimore County.



                                                                       /s/
                                                      James M. Connolly (Bar No. 23872)
                                                      KRAMER & CONNOLLY
                                                      500 Redland Court, Suite 211
                                                      Owings Mills, Maryland 21117
                                                      Tel: (410) 581-0070
                                                      Fax: (410) 581-1524
                                                      Counsel for Defendant Unique Management
                                                      Services, Inc.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 4, 2008 a copy of the foregoing was mailed
first class, postage prepaid, to:

       Ms. Takesheia Dorsey
       4104 Balmoral Circle
       Pikesville, Maryland 21208


                                                                      /s/
                                                      James M. Connolly




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